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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                          ORLAND DIVISION

SHANA DENNY, on Behalf ) of
Herself and All Others Similarly
Situated,                                        CLASS ACTION COMPLAINT

 Plaintiff,                                       DEMAND FOR JURY TRIAL
 vs.
COLGATE PALMOLIVE
COMPANY and
TOM’S OF MAINE, INC.,

 Defendants.



      Plaintiff, Shana Denny (“Plaintiff”), by and through her attorneys, brings this

action on behalf of herself and all others similarly situated against The Colgate

Palmolive Company and Tom’s of Maine (“Defendants”). Plaintiff hereby alleges,

on information and belief, except for information based on personal knowledge,

which allegations are likely to have evidentiary support after further investigation

and discovery, as follows:

                         JURISDICTION AND VENUE

    1. This Court has jurisdiction over this matter under the Class Action Fairness

 Act (“CAFA”), 28 U.S.C. § 1332(d)(2)(A), as the amount in controversy exceeds




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 $5 million, exclusive of interests and costs; it is a class action of over 100 members;

 and the Plaintiff is a citizen of a state different from at least one Defendant.

    2. This Court has personal jurisdiction over Defendants. Defendants have

 sufficient minimum contacts with the state of Florida and purposefully availed

 themselves, and continue to avail themselves, of the jurisdiction of this Florida

 through the privilege of conducting its business ventures in the state of Florida,

 thus rendering the exercise of jurisdiction by the Court permissible under

 traditional notions of fair play and substantial justice.

    3. Venue is proper in this district under 28 U.S.C. § 1391(a) because a

 substantial part of the events or omissions giving rise to Plaintiff’s claims occurred

 in this district, as Defendants do business throughout this district. The plaintiff

 made her purchase of Tom’s of Maine toothpaste in Titusville, Florida, from a local

 retailer in this district, and her purchase of Tom’s of Maine toothpaste was

 delivered to and used in this district.

                                   THE PARTIES

    4. Plaintiff Shana Denny is a natural person and a citizen of Brevard County,

 Florida, residing in Titusville. Plaintiff purchased Tom’s of Maine from a local

 retailer. Before her purchase, Plaintiff saw and reviewed Defendants’ advertising

 claims on the packaging and labeling itself, and she made her purchase of the

 toothpaste in reliance thereon. Plaintiff specifically relied upon representations

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 made by Defendant. Plaintiff did not receive the promised benefits or the total

 value of her purchase. Plaintiff would purchase the product again if she was

 assured the product was not adulterated.

    5. Defendant Colgate Palmolive is a publicly traded company whose principal

 place of business is located in New York.

    6. Defendant Tom’s of Maine is a U.S. manufacturing company whose

 principal place of business is located in Kennebunk, Maine. It is a majority-owned

 subsidiary of Colgate Palmolive.

    7. Plaintiff reserves the right to amend this Complaint to add different or

 additional defendants, including without limitation any officer, director, employee,

 supplier, or distributor of Defendants who has knowingly and willfully aided,

 abetted, or conspired in the false and deceptive conduct alleged herein.

                          FACTUAL ALLEGATIONS

    8. Tom's of Maine was founded by Tom and Kate Chappell in 1970 with a

 $5,000 loan, eventually growing into a $100 million business. The company is

 based in Kennebunk, Maine, and is a subsidiary of the multinational conglomerate

 Colgate-Palmolive, as of 2006. Tom's of Maine has approximately 120 employees.

 The company also employs factories elsewhere in the US and Canada via contract

 to produce some of their products.




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    9. The company's products are sourced and derived from nature, with formulas

 free of artificial flavors, fragrances, colors, sweeteners, and preservatives. The

 products are not tested on animals, and the company claims that its ingredient

 processing supports human and environmental health. While most of the

 company's products are vegan, some products contain propolis and/or beeswax

 sourced from bees.

    10. In November 2024, the US FDA issued a warning to the company after it

 found disease-causing bacteria and mold-like powdery substances in Tom's of

 Maine products and facilities. (See FDA Letter attached as Exhibit 1) At least three

 species of harmful bacteria were found. The FDA also stated that Tom's had

 received hundreds of consumer complaints, but had not investigated them. The

 warning letter mandates that Tom's must submit multiple documents, including

 assessments and remediation plans for its operations, contamination hazards,

 testing methods, and cleaning procedures.

    11. The company told CBS News that it is working with the FDA to resolve the

 issues the agency found in the Maine plant.

    12. Tom's sells personal care products, such as toothpaste, mouthwash, lip

 balms and fragrances using "naturally sourced and naturally derived ingredients,"

 according to its website. It is owned by Colgate-Palmolive, and its goods are sold

 in major retailers such as Whole Foods, Target, Walmart, and Kroger.


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    13. The FDA said despite the results of microbial tests it conducted, Tom's

 continued to distribute merchandise based on the test results of final products, but

 did not investigate the quality of water used in the process.

    14. Defendant Tom’s of Maine responded to the FDA by stating it is

 retrospectively looking into the incidents, and that the detection of Paracoccus yeei

 was due to a lab error. However, the agency said there is no evidence of that.

    15. Pseudomonas aeruginosa — which can cause infections in the blood and

 lungs, according to the Centers for Disease Control and Prevention — was also

 recovered in multiple water samples from June 2021 to October 2022. That water

 was used to manufacture Tom’s Simply White clean mint paste, and for the final

 rinse of numerous equipment cleaning processes, the letter said.

    16. The bacteria Ralstonia insidiosa was also recovered from water points of

 use. The FDA found that batches manufactured after these incidents were released

 based on the microbial testing of the finished over-the-counter product despite the

 quality of the water used as a component or to clean the equipment. The FDA

 warned Tom’s of Maine’s investigation concluded, without sufficient justification,

 that the growth was due to sample contamination.

    17. An FDA investigator also observed a “black mold-like substance” at the

 base of a hose reel and behind a water storage tank at the facility, which was within

 a foot away from equipment used for toothpaste production.


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    18. The FDA also found that Tom's failed to investigate hundreds of product

 complaints regarding odor, color, and taste because they did not indicate a trend.

 According to the FDA, Tom's responded by saying it handles complaints with a

 "risk-based approach," and that individual complaints are not enough to deem a

 product inadequate.

    19. The FDA’s letter also stated “Water is a major ingredient in many of your

 OTC drug products. It is essential that you employ a water system that is robustly

 designed, and that you effectively control, maintain, and monitor the system to

 ensure it consistently produces water suitable for pharmaceutical use.”

                        CLASS ACTION ALLEGATIONS

    20. Class Definition: Plaintiff brings this action on behalf of herself and the

 following Classes pursuant to Federal Rule of Civil Procedure 23(a), (b)(2) and/or

 (b)(3). Specifically, the Classes are defined as:

    21. National Class: All persons in the United States who purchased the Tom’s

 of Maine products at issue during the fullest period of law.

    22. In the alternative, Plaintiff brings this action on behalf of the following State

 Sub-Class:

    23. Florida Sub-Class: All persons in the State of Florida who purchased the

 Tom’s of Maine products at issue during the fullest period of law.




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    24. Plaintiff reserves the right to amend the Class definitions if further

 investigation and discovery indicates that the Class definitions should be narrowed,

 expanded, or otherwise modified.

    25. Numerosity and Ascertainability: Plaintiff does not know the exact

 number of members of the putative classes. Due to Plaintiff’s initial investigation,

 however, Plaintiff is informed and believes that the total number of Class members

 is at least in the tens of thousands and that members of the Class are numerous and

 geographically dispersed throughout Florida and the United States. While the exact

 number and identities of the Class members are unknown at this time, such

 information can be ascertained through appropriate investigation and discovery,

 including Defendants’ records, either manually or through computerized searches.

    26. Typicality and Adequacy: Plaintiff’s claims are typical of those of the

 proposed Class, and Plaintiff will fairly and adequately represent and protect the

 interests of the proposed Class. Plaintiff does not have any interests that are

 antagonistic to those of the proposed Class. Plaintiff has retained counsel

 competent and experienced in the prosecution of this type of litigation.

    27. Commonality: The questions of law and fact common to the Class

 members, some of which are set out below, predominate over any questions

 affecting only individual Class members:

    28. a. whether Defendant committed the conduct alleged herein;


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    29. b. whether Defendants’ conduct constitutes the violations of laws alleged

 herein;

    30. c. whether Defendants’ labeling, sale and advertising set herein are

 unlawful, untrue, or are misleading, or reasonably likely to deceive;

    31. d. whether Tom’s of Maine toothpaste products are adulterated and/or

 misbranded under the Florida Health & Safety Code or federal law;

    32. e. whether Defendant knew or should have known that the representations

 were false or misleading;

    33. f. whether Defendant knowingly concealed or misrepresented material facts

 for the purpose of inducing consumers into spending money on Tom’s of Maine

 toothpaste products;

    34. g. whether Defendants’ representations, concealments, and non-disclosures

 concerning the Tom’s of Maine toothpaste products are likely to deceive the

 consumer;

    35. h. whether Defendants’ representations, concealments, and non-disclosures

 concerning the Tom’s of Maine toothpaste products violate FDUTPA and/or the

 common law;

    36. i. whether Defendant should be permanently enjoined from making the

 claims at issue; and




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    37. j. whether Plaintiff and the Class are entitled to a full refund, restitution, or

 other damages.

    38. Predominance and Superiority: Common questions, some of which are

 set out above, predominate over any questions affecting only individual Class

 members. A class action is the superior method for the fair and just adjudication of

 this controversy. The expense and burden of individual suits makes it impossible

 and impracticable for members of the proposed Class to prosecute their claims

 individually and multiplies the burden on the judicial system presented by the

 complex legal and factual issues of this case. Individualized litigation also presents

 a potential for inconsistent or contradictory judgments. In contrast, the class action

 device presents far fewer management difficulties and provides the benefits of

 single adjudication, economy of scale, and comprehensive supervision by a single

 court on the issue of Defendants’ liability. Class treatment of the liability issues

 will ensure that all claims and claimants are before this Court for consistent

 adjudication of the liability issues. A class action is superior to other available

 methods for the fair and efficient adjudication of this controversy for at least the

 following reasons:

    39. given the complexity of issues involved in this action and the expense of

 litigating the claims, few, if any, Class members could afford to seek legal redress

 individually for the wrongs that Defendant committed against them, and absent


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  Class members have no substantial interest in individually controlling the

  prosecution of individual actions;

     40. when Defendants’ liability has been adjudicated, claims of all Class

  members can be determined by the Court;

     41. this action will cause an orderly and expeditious administration of the Class

  claims and foster economies of time, effort and expense, and ensure uniformity of

  decisions; and

     42. without a class action, many Class members would continue to suffer injury,

  and Defendants’ violations of law will continue without redress while Defendant

  continues to reap and retain the substantial proceeds of their wrongful conduct.

     43. Manageability: The trial and litigation of Plaintiff’s and the proposed Class

  claims are manageable. Defendant has acted and refused to act on grounds

  generally applicable to the Class, making appropriate final injunctive relief and

  declaratory relief with respect to the Class as a whole.

                                       COUNT I
                          For Violations of Florida’s Deceptive
                            and Unfair Trade Practices Act,
                                Fla. Stat. 501.201 et seq.

     44. Plaintiff incorporated by reference preceding paragraphs 1-19.

     45. Plaintiff brings this claim on her own behalf and on behalf of each member

  of the Florida Class.


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     46. Defendant violated and continues to violate Florida’s Deceptive and Unfair

  Trade Practices Act by engaging in unfair methods of competition, unconscionable

  acts and practices, and unfair and deceptive acts and practices in the conduct of

  their business.

     47. The material misstatements and omissions alleged herein constitute

  deceptive and unfair trade practices, in that they were intended to and did deceive

  Plaintiff and the general public into believing that Tom’s of Maine toothpaste

  products were suitable for use.

     48. Plaintiff and Class members relied upon these advertisements in deciding

  to purchase Tom’s of Maine toothpaste products.          Plaintiff’s reliance was

  reasonable because of Defendants’ reputation as a reliable company.

     49. Had Plaintiff known that Tom’s of Maine toothpaste product was not as

  advertised, she would not have purchased the product. As a result of Defendants’

  deceptive and unfair acts, Plaintiff and Class members have been damaged.

     50. Defendants’ conduct offends established public policy, and is immoral,

  unethical, oppressive, and unscrupulous to consumers.

     51. Plaintiff and Class members are entitled to damages in an amount to be

  proven at trial.




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     52. Defendants should also be ordered to cease its deceptive advertising and

  should be made to engage in a corrective advertising campaign to inform

  consumers that its Tom’s of Maine toothpaste products are adulterated.

                               COUNT II
                      Breaches of Express Warranty,
  Implied Warranty of Merchantability/Fitness for a Particular Purpose and
          Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

     53. Plaintiff incorporated by reference preceding paragraphs 1-19.

     54. The Product was manufactured, identified, marketed, and sold by

  Defendant and expressly and impliedly warranted to Plaintiff that it would be of

  uniform quality, color, and taste and capable of functioning reliably.

     55. Defendants directly marketed the Product to Plaintiff through its

  advertisements and marketing, through various forms of media, on the packaging,

  in print circulars, direct mail, product descriptions, and targeted digital advertising.

     56. Defendants knew the product attributes that potential customers like

  Plaintiff were seeking and developed its marketing and labeling to directly meet

  their needs and desires.

     57. The representations about the Product were conveyed in writing and

  promised it would be defect-free, and Plaintiff understood this meant it would be

  of uniform quality, color, and taste and capable of functioning reliably.

     58. Defendants’ representations affirmed and promised that the Product would

  be of uniform quality, color, and taste and capable of functioning reliably.
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     59. Defendants described the Product so Plaintiff believed it would be of

  uniform quality, color, and taste and capable of functioning reliably, which became

  part of the basis of the bargain that it would conform to its affirmations and

  promises.

     60. Defendants had a duty to disclose and/or provide non-deceptive promises,

  descriptions and marketing of the Product.

     61. This duty is based on Defendants’ outsized role in the market for this type

  of product, a leading seller of toothpaste products.

     62. Plaintiff recently became aware of Defendants’ breach of the Product’s

  warranties.

     63. Plaintiff provided or provides notice to Defendants, its agents,

  representatives, retailers, and their employees that it breached the Product’s

  warranties.

     64. Defendants received notice and should have been aware of these issues due

  to complaints by consumers and third-parties, including regulators and

  competitors, to its main offices and through online forums.

     65. The Product did not conform to its affirmations of fact and promises due to

  Defendants’ actions.

     66. The Product was not merchantable because it was not fit to pass in the trade

  as advertised, not fit for the ordinary purpose for which it was intended and did not


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  conform to the promises or affirmations of fact made on the packaging, container,

  or label, because it was marketed as if it would be of uniform quality, color, and

  taste and capable of functioning reliably.

     67. The Product was not merchantable because Defendants had reason to know

  the particular purpose for which it was bought by Plaintiff, because she expected

  that it would be of uniform quality, color, and taste and capable of functioning

  reliably, and she relied on Defendant’s skill and judgment to select or furnish such

  a suitable product.

                                    COUNT III
                            Negligent Misrepresentation
     68. Plaintiff incorporates by reference preceding paragraphs 1-19.

     69. Defendants had a duty to truthfully represent the Product, which it breached.

     70. This duty was non-delegable, based on Defendants’ position, holding itself

  out as having special knowledge and experience in this area, an industry leader in

  toothpaste products.

     71. The representations and omissions went beyond the specific representations

  on the packaging, as they incorporated the extra-labeling promises and

  commitments to quality, transparency and putting customers first that it has been

  known for.

     72. These promises were outside of the standard representations that other

  companies may make in a standard arms-length, retail context.

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     73. The representations took advantage of consumers’ cognitive shortcuts made

  at the point-of-sale and their trust in Defendants.

     74. Plaintiff      reasonably   and   justifiably   relied   on   these   negligent

  misrepresentations and omissions, which served to induce and did induce, her

  purchase of the Product.

                                        COUNT IV
                                     Unjust Enrichment
     75. Plaintiff incorporates by reference preceding paragraphs 1-19.

     76. Plaintiff brings this cause of action on behalf of herself and on behalf of the

  Class.

     77. Plaintiff and Class members conferred a benefit on Defendants by

  purchasing the adulterated Products.

     78. Defendants received the monies paid by Plaintiff and Class members and

  thus knew of the benefit conferred upon them.

     79. Defendants accepted and retained the benefit in the amount of the profits

  they earned from Defendant’s Product sales paid by Plaintiff and Class members.

     80. Defendants have profited from their unlawful, unfair, misleading, and

  deceptive practices and advertising at the expense of Plaintiff and Class members,

  under circumstances in which it would be unjust for Defendant to be permitted to

  retain the benefit.

     81. Plaintiff does not have an adequate remedy at law against Defendants.

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     82. Plaintiff and Class members are entitled to restitution of the amount paid

  for the Product and disgorgement of the profits Defendants derived from their

  deceptively advertised Product sales.

                             PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, individually and on behalf of all others similarly

situated members of the Classes, pray for relief and judgment, including entry of an

order:

   A. Declaring that this action is properly maintained as a class action, certifying

the proposed Class(es), appointing Plaintiff as Class Representative and appointing

Plaintiff’s counsel as Class Counsel;

   B. Directing that Defendants bear the costs of any notice sent to the Class(es);

   C. Declaring that Defendants must disgorge, for the benefit of the Class(es), all

or part of the ill-gotten profits they received from the sale of the Products, or order

Defendants to make full restitution to Plaintiff and the members of the Class(es);

   D. Awarding a full refund, restitution, and other appropriate equitable relief;

   E. Granting an injunction against Defendants to enjoin them from conducting

their business through the unlawful, unfair and fraudulent acts or practices set forth

herein;

   F. Granting an Order requiring Defendants to fully and appropriately recall the

Products;

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   G. Ordering a jury trial and damages according to proof;

   H. Enjoining Defendants from continuing to engage in the unlawful and unfair

business acts and practices as alleged herein;

   I. Awarding attorneys’ fees and litigation costs to Plaintiff and members of the

Class(es);

   J. Awarding civil penalties, prejudgment interest and punitive damages as

permitted by law; and

   K. Ordering such other and further relief as the Court deems just and proper.

                                 JURY DEMAND

      Plaintiff demands a trial by jury on all issues so triable.

DATED: November 21, 2024                         s/William Wright
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